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 5
     Attorney for Defendant,
 6   ANDREW CONWAY

 7
                                IN THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                        2:06-CR-00476MCE

11               Plaintiff,                           STIPULATION AND ORDER

12        vs.                                         DATE: March 26, 2009
                                                      TIME: 9:00 AM
13   ANDREW CONWAY,                                   JUDGE: Hon. Morrison England

14               Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Jason

17   Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan

18   Koukol, that the sentencing hearing of March 26, 2009 be vacated and that a sentencing hearing

19   be set for May 7, 2009 at 9:00 AM.

20          //

21          //

22          //

23          //

24          //

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 1           This continuance is being requested because Mr. Hitt will be unavailable on March 26,

 2   2009.

 3

 4
     DATED: MARCH 24, 2009               Respectfully submitted,
 5

 6                                       /s/ DAN KOUKOL
                                         _________________________________
 7                                       DAN KOUKOL
                                         Attorney for defendant Andrew Conway
 8

 9
     DATED: MARCH 24, 2009               Respectfully submitted,
10

11                                       /s/ DAN KOUKOL FOR
                                         _________________________________
12                                       Jason Hitt
                                         Assistant U.S. Attorney
13
             IT IS SO ORDERED.
14

15           DATED: March 27, 2009

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17
                                     __________________________________
18                                   MORRISON C. ENGLAND, JR
                                     UNITED STATES DISTRICT JUDGE
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